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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00796-MEH

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     121 ASH ROAD, BASALT, COLORADO, and

2.     APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN
       MIRABAUD BANK ACCOUNT #509951,

       In Rem Defendants,

and

EDGE CAPITAL INVESTMENTS LTD.,
HENKE PROPERTY LLC,

      Claimants.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, United States Magistrate Judge, on September 23, 2021.

        Due to a conflict in the Court’s calendar, the Fed. R. Civ. P. 16(b) Scheduling Conference
currently set for October 4, 2021 is reset to October 13, 2021 at 11:00 a.m. in Courtroom A-501,
on the fifth floor of the Alfred A. Arraj United States Courthouse located at 901 19th Street,
Denver, Colorado.

       If this date is not convenient, the parties shall confer and contact my Chambers by email to
obtain an alternate date. All parties must be copied on the email if they agree to change the
conference date; otherwise, any party seeking to change the conference date must file a motion.
Absent exceptional circumstances, no request for rescheduling will be entertained unless made
five business days prior to the date of the conference.

         It is further ORDERED that counsel for Plaintiff and Claimant Henke Property LLC shall
file their proposed Scheduling Order on or before October 6, 2021.

       The proposed Scheduling Order is also to be submitted in editable Word format by
email to Magistrate Judge Hegarty at hegarty_chambers@cod.uscourts.gov.
